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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )

               v.                             )       CR. NO. 21-70 (ABJ)

SAMUEL CAMARGO                                )


                           UNOPPOSED MOTION FOR RELEASE

       Samuel Camargo, through undersigned counsel, respectfully moves this Honorable Court

to enter an Order releasing him from the D.C. Department of Corrections and set appropriate

conditions of release until the next court hearing. The government does not oppose this motion.

In support of this motion, the defense states as follows:

   1. Mr. Camargo was arrested on January 20, 2021 in this case.

   2. The government has extended a plea offer to one count, specifically to 40 U.S.C. §

       5104(e)(2)(D), a misdemeanor, which has a maximum of six months of imprisonment.

   3. Mr. Camargo will reach six months of imprisonment by July 20, 2021.

   4. The parties request that Mr. Camargo be released by July 20th and that this Court set

       appropriate release conditions until the next court hearing, scheduled for August 17th.

                                              Respectfully Submitted,

                                              A.J. KRAMER
                                              FEDERAL PUBLIC DEFENDER
                                              ____/s/________________
                                              UBONG E. AKPAN
                                              Assistant Federal Public Defender
                                              625 Indiana Ave., N.W.
                                              Washington, D.C. 20004
                                              (202) 208-7500
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                                CERTIFICATE OF SERVICE


       I, Ubong E. Akpan, certify that on this 15th day of July 2021, I caused a copy of the

foregoing Unopposed Motion to be filed through the Electronic Case Filing (“ECF”) system and

served a copy on counsel for the government through the ECF.

                                                        /s/_________________
                                             UBONG E. AKPAN
                                             Assistant Federal Public Defender
